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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                             No. CR 03-2274 JB

JOHN GOULD and
VIOLET GOULD,

                Defendants.

                             MEMORANDUM OPINION AND ORDER

        THIS MATTER comes before the Court on Defendant Violet Gould’s Motion to Dismiss

or In the Alternative for a Bill of Particulars, filed March 2, 2007 (Doc. 246)(“Motion”). The Court

held a hearing on the motion on March 8, 2007. The primary issue is whether the Court should

dismiss Count V of the Second Superceding Indictment against Defendant Violet Gould (“Ms.

Gould”) or, in the alternative, order that the United States provide a bill of particulars, because Count

V does not adequately inform her of the particular allegations against which she must defend at trial.

Because the Court believes that Count V of the Second Superceding Indictment provides adequate

notice to her of the allegations against which she must defend, the Court will deny the motion.

                                PROCEDURAL BACKGROUND

        On August 25, 2004, the grand jury returned the Second Superceding Indictment, charging

Ms. Gould with violating 18 U.S.C. § 1512(b)(3). See Second Superceding Indictment, filed August

25, 2004 (Doc. 91)(“Indictment”). Count V of the Second Superseding Indictment alleges that, on

or about April 14, 2004, in violation of § 1512(b)(3), Ms. Gould

        did knowingly engage in misleading conduct toward other persons with intent to
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        hinder, delay or prevent the communication to a federal law enforcement officer or
        federal judge of information relating to the commission or possible commission of a
        federal offense, to wit:

                The defendant made false statements to the New Mexico State Police
        concerning the March 22, 2004, use of force against James Barber by John Gould,
        and concerning the medical treatment provided to James Barber following the use of
        force. Defendant made these false statements with intent thereby to hinder, delay or
        prevent the communication of information to any federal law enforcement officer or
        federal judge about the unjustified use of force against James Barber and the medical
        treatment provided to James Barber following the unjustified use of force.

Indictment at 4-5. This is the sole charge involving Ms. Gould that is included in the Second

Superceding Indictment. See Indictment.

        Ms. Gould has had access for several years to numerous discovery materials, including the

transcript of the Grand Jury proceeding that led to the issuance of the Second Superceding

Indictment, and Brady and Jencks materials. See Motion at 6-8.

        On February 2, 2007, Ms. Gould filed her motion to dismiss, or, in the alternative, for a bill

of particulars. See id. Ms. Gould contends that Count V’s language is too ambiguous to adequately

inform her of the particular allegations against which she must defend. See id. at 3-6. Specifically,

Ms. Gould states that the following phrases are unclear: (i) “knowingly engage in misleading

conduct;” (ii) “other persons;” (iii) “with intent to hinder, delay or prevent;” and (iv) “the commission

or possible commission of a federal offense.” Id. Ms. Gould also asserts that it is imperative to her

defense to know whether Count V is based on statements made in addition to the following

assertions:

        1.      [Ms. Gould] “reported that the reason that John [Gould] shot the FN303 was
                because there was not enough detention officers present to do a cell
                extraction.” Grand Jury transcript at 48.

        2.      [Ms. Gould] “told the New Mexico State Police, . . . ‘I’m not familiar with the


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                 weapons they use.’” Id.

       3.        [Ms. Gould] “told the New Mexico State Police that John Gould was trained
                 in the FN303, but not in cell extractions.” Id. at 49.

       4.        [Ms. Gould] “told the New Mexico State [Police] that John [Gould] gave
                 clear commands for Mr. Barber to get down before and after he fired the
                 FN303. . . .” Id.

       5.        [Ms. Gould] “told the New Mexico State Police that she cleaned Mr. Barber’s
                 bleeding wound on his thigh and an open wound on Mr. Barber’s wrist with
                 gauze the night of the incident before she went home.” Id. at 49-50.

       6.        [Ms. Gould] “told New Mexico State Police about the phone call she had with
                 Rick Lucero. Rick Lucero called her that evening after she and John went
                 home, and she told the New Mexico State Police, ‘Rick Lucero did call one
                 time during the night. He said that he was still complaining that he was hit in
                 the testicle. I asked him, is his testicle swollen? He – meaning Rick Lucero
                 – said, no, everything looks fine. There’s no swelling. There’s no bleeding.’”
                 Id. at 50-51.

Motion at 6-7.

       At the hearing on this motion, the United States confirmed that its case was based on the six

statements that Ms. Gould has identified. Hearing Transcript at 36:4-37:8 (Blumberg)(taken March

8, 2007).1 The United States also stated that these statements, which are contained in the sixty-page

transcript of her conversation with the New Mexico State Police, and the overall “gist” of that

conversation, which it characterized as misleading and deceptive, were the sole basis for the criminal

charges against Ms. Gould. See id. The United States confirmed a number of times during the

hearing that the contents of that one transcript contained the entire basis for its criminal charges

against Ms. Gould. See id.

       Ms. Gould conceded that, to the extent that either party was relying on evidence outside of


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        The Court’s citations to the transcript of the hearing refer to the Court Reporter’s original,
unedited version. Any final transcript may contain slightly different page and/or line numbers.

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the four corners of the indictment, it would be inappropriate for the Court to dismiss the indictment.

See id. at 46:8-47:5 (Davidson). She also concluded that her argument, in some respects, depended

on how the evidence played out at trial. See id. Accordingly, Ms. Gould agreed that her motion was,

in effect, a motion for a bill of particulars. See id.

                         LAW REGARDING MOTIONS TO DISMISS

        Rule 12(b)(2) of the Federal Rules of Criminal Procedure allows a party to “raise by pretrial

motion any defense, objection, or request that the court can determine without a trial of the general

issue.” Fed. R. Crim. P. 12(b)(2). “Where a defendant challenges the sufficiency of an indictment

for failure to state an offense, a court generally is bound by the factual allegations contained within

the four corners of the indictment.” United States v. Welch, 327 F.3d 1081, 1090 (10th Cir. 2003).

“Courts should refrain from considering evidence outside the indictment when testing its legal

sufficiency.” United States v. Hall, 20 F.3d 1084, 1087 (10th Cir. 1994).

        The United States Court of Appeals for the Tenth Circuit has upheld, however, a district

court’s dismissal of charges at the pretrial stage based on evidence beyond the four corners of the

indictment. See United States v. Brown, 925 F.2d 1301, 1304 (10th Cir. 1991); United States v.

Wood, 6 F.3d 692, 695 (10th Cir. 1993). The Tenth Circuit explained these cases in United States

v. Hall, stating:

        [W]e read Brown and Wood as authority which allows a district court to dismiss
        charges at the pretrial stage under the limited circumstances where the operative facts
        are undisputed and the government fails to object to the district court’s consideration
        of those undisputed facts in making the determination regarding a submissible case.
        Under this scenario, a pretrial dismissal is essentially a determination, that as a matter
        of law, the government is incapable of proving its case beyond a reasonable doubt.
        We note, however, that such a scenario is not likely to recur and we caution both the
        trial courts and counsel that the procedure here employed is indeed the rare exception.



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United States v. Hall, 20 F.3d at 1088.

                       LAW REGARDING BILLS OF PARTICULARS

       Rule 7(c) of the Federal Rules of Criminal Procedure states that an indictment “must be a

plain, concise, and definite written statement of the essential facts constituting the offense charged.”

Fed. R. Crim. P. 7(c). The indictment must sufficiently apprise the defendant of what he must be

prepared to meet. See Cochran v. United States, 157 U.S. 286, 290 (1895). The court should

consider the entire document in determining whether the indictment is sufficient. See United States

v. Mobile Materials, Inc., 871 F.2d 902, 906-07 (10th Cir. 1989).

       An indictment also must allow the defendant to plead a former acquittal or conviction as a

defense to subsequent proceedings against him for the same or similar acts. See Russell v. United

States, 369 U.S. 749, 763-64 (1962); United States v. Lepanto, 817 F.2d 1463, 1465 (10th Cir.

1987). Thus, an indictment is sufficient when it contains the offense’s elements and apprises the

defendant of the charges he must meet so that a judgment returned on the indictment will protect him

against double jeopardy. See United States v. Bedonie, 913 F.2d 782, 790 (10th Cir. 1990); United

States v. Mobile Materials, Inc., 871 F.2d at 906.

       The specificity requirements ensure that a defendant: “(1) should be called to answer charges

actually brought by the Grand Jury and not a prosecutor’s interpretation of those charges; (2) be

apprised of the charge against him in order to permit preparation of a defense; and (3) be protected

against double jeopardy.” United States v. Haas, 583 F.2d 216, 219 (5th Cir. 1978).

       A bill of particulars is “not a discovery device but may serve to ‘amplif[y] the indictment by

providing additional information.’” United States v. Dunn, 841 F.2d 1026, 1029 (10th Cir.

1988)(quoting United States v. Johnson, 575 F.2d 1347, 1356 (5th Cir.1978)). A defendant,


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however, is “not entitled to all of the evidence the government intends to produce, but only the theory

of the government’s case.” Id. at 1030. In United States v. Dunn, the Tenth Circuit explained: “[If

an] indictment . . . tracks the statutory language, that fact alone will not defeat it.” Id. at 1029.

Instead, “[s]ufficiency is determined by practical rather than technical considerations.” Id. The Tenth

Circuit then noted that the indictment quoted the statutory language under which the defendant was

charged, and “included the dates of the illegal activity, the place, and the specific controlled

substance.” Id. The Tenth Circuit concluded: “An indictment need not go further and allege in detail

the factual proof that will be relied upon to support the charges.” Id. (quotations omitted).

        The granting of a bill of particulars is left to the discretion of the trial court. See United States

v. Wright, 826 F.2d 938, 942 (10th Cir. 1987). Absent a showing of prejudice, a court’s denial of

a request for a bill of particulars is not error. See id. (citing United States v. Crim, 527 F.2d 289, 293

(10th Cir. 1975). “This is so even where denial might be construed as an abuse of discretion.”

United States v. Wright, 826 F.2d at 942.

                                               ANALYSIS

        To the extent that Ms. Gould is relying upon arguments about what the evidence will be at

trial, she is going beyond the four corners of the indictment. The United States has not agreed to

treat this motion as, in effect, a motion for summary judgment, and the Court therefore should not

treat the motion as such. Indeed, Ms. Gould conceded that she is effectively seeking a bill of

particulars. See Transcript at 46:8-47:5 (Davidson).

        Contrary to Ms. Gould’s assertions, the Court finds that Count V of the Second Superceding

Indictment is sufficient to apprise her of the essential elements of the crime charged, and to inform

her of the charge against which she must prepare a defense. Count V cites the statute that Ms. Gould


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is alleged to have violated, tracks the statutory language of that statute, provides a description of the

way in which Ms. Gould violated that statute, and includes the date on and the location where the

violation allegedly took place. See Indictment at 4-5; 18 U.S.C. § 1512(b)(3). The Court thus

concludes that Count V adequately provides the elements of the alleged offense and apprises Ms.

Gould of the charges she must meet. See United States v. Dunn, 841 F.2d at 1029 (finding that an

indictment gave the defendant adequate notice of the allegations against which defense was required

where the indictment quoted the relevant statutory language, and included the date, place, and

subject matter of the alleged offense).

        That Ms. Gould has identified six statements that may relate to the allegations contained in

Count V strengthens that conclusion. Moreover, the Court notes that Ms. Gould has filed several

motions in the case thus far, so any lack of detail in Count V has not hampered her defense. Indeed,

the Court learned about the six statements at issue in this case from reading Ms. Gould’s motion in

limine. Further, the Court notes that Ms. Gould has had access, for some time, to discovery

materials, including Grand Jury, Brady, and Jencks materials, with which to inform herself of the

circumstances and conduct underlying the allegations against her contained in Count V.

        Ms. Gould need only scrutinize one sixty-page document to know the basis of the criminal

charge against her and the parties have already identified the six material statements therein. The

court does not believe ordering a bill of particulars would give Ms. Gould any information she does

not already have.

        The Court believes that all involved in this case understand what crime is alleged in Count V.

Because Count V of the Second Superceding Indictment contains all of the essential elements and

apprises Ms. Gould of the charge she must meet, and because the Tenth Circuit has cautioned against


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the use of a bill of particulars as a discovery device, the Court will deny the motion. See United

States v. Dunn, 841 F.2d at 1029 (“An indictment need not go further and allege in detail the factual

proof that will be relied upon to support the charges.”)

        IT IS ORDERED that Defendant Violet Gould’s Motion to Dismiss or In the Alternative for

a Bill of Particulars is denied.



                                                      ___________________________________
                                                      UNITED STATES DISTRICT JUDGE


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